Case 2:04-cr-20311-.]P|\/| Document 191 Filed 08/05/05 Page 1 of 3 Page|D 269
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IN THE UNITED sTATEs ulsTRIqI\_eDUR»
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UNITED sTATES or AMEchA ) \NFD vi "
Plaintiff, §
vs § CAsE No. 2104CR20311-M1
LORRAY BRODEN §
Defendant. ))
)

 

ORDER 'I`O SURRENDER

 

The defendant, Lorray Broden, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MARIANNA,
3625 FCI Road, Marianna, FL 32446 by 2:00 p.m. on MONDAY, AUGUST 29, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Off`lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

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ENTEREI)thisthe 15 day ofAugust,zoos.

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JO PHIPPS McCALLA
U TED STATES DISTRICT JUDGE

heat `m compliance \

Thls document entered on the dockets l 0 5
w\th Ru\e 55 ari:.l]or 32(b) FRCrP on 3 g ,2 /

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if l fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerkaeputy Clerk Defendant

     
 

  

UNITED `sATEs DISTRIC COURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 191 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Devvun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

1\/lemphis7 TN 38103

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

